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             IN THE UNITED STATES DISTRICT COURT FOR THE
                    WESTERN DISTRICT OF OKLAHOMA

UNITED STATES OF AMERICA,                        )
                                                 )
              Plaintiff,                         )
                                                 )
v.                                               )      Case No. CR-17-239-D
                                                 )
JERRY DRAKE VARNELL,                             )
                                                 )
              Defendant.                         )

                                         ORDER

       Before the Court is Defendant’s Motion for Leave to File Dispositive Motion Out

of Time [Doc. No. 207]. For good cause shown, the motion is GRANTED. Defendant

shall file his motion to dismiss on or before February 4, 2019. The United States shall file

its response on or before February 7, 2019.

       IT IS SO ORDERED this 1st day of February 2019.




        
